CC541

Case 3:18-cv-OO794-VAB Document 1-1 Filed 05/10/18 Page 1 of 1

LAW OFFICES

HOWARD LEE SCHIFF, P.C.

CoNNer:rIcUT o MMNE c Masse\cnussr'rs o NEW HAMPSH;RE ¢ RHoos lsl.mo o Vsmom‘ HowARD LEE ScHrFF 1933 - 2007

510 Tolland Street Easl Hanf`ord, Connccticut 06108 Ot`i`rcc Hours: 8:30 AM - 6:00 PM
Telephone (860} 528-9991 'I`oll Frcc: (866) 234-7606 Facsimile: (860) 528»7602

DAVID TRUGLIO
February 21, 2018

Our Fiie No: _

Current OWner to Whom Debt is Owed: Portfoiio Recovery
Associates, LLC

Originai Creditor: SYNCHRONY BANK

Originai Creditor Account Number: XXXXXXXXXXXXSSSl
Baiance Due: $1,006.19

Consumer: DAVID TRUGLIO

DEaF DAVID TRUGLIO:

This office represents PORTFOLIO RECOVERY ASSOCIATES, LLC. We
suggest that you send us a check or money order for the baiance
due, payabie to "Law Offices Howard Lee Schiff, P.C." uniess you
intend to exercise your rights as stated in the Vaiidation Notice
beiow. A11 questions and payments shouid be directed to this
firm. Our toii-free number is (866) 234-7606. Piease reference
CN AC7896 in any corres ondence with our firm. You may aiso make
payments by phone, (866 214-9942, or oniine, www.payschiff.com.
when you choose to make a payment with your bank account via the_
IVR system and you enter your CN when prompted, you are
authorizing Law Offices Howard Lee Schiff, P.C. to debit your
bank account via ACH in the amount authorized towards payment of
the debt owed.

VALIDATION NOTICE

If you do not dispute the vaiidity of the debt, or any portion
thereof, within 30 days of the receipt of this ietter, we wi11
assume it is vaiid. If ou dispute the vaiidity of this debt or
any portion thereof, wit in 30 days of receipt of this Tetter, we
wi 1 obtain and maii you verification of the debt or a copy of a
judgment against you. At your request, in writing within 30 days
of receipt of this ietter, we wi11 provide you with the name and

address of the origina1 creditor, if different from the current
creditor.

Respectfuiiy, Law Offices Howard Lee Schiff, P.C.
Office Hours: Monday-Friday, 8:30 a.m.-6:00 p.m.

THIS COMMUNICATION IS FROM A DEBT COLLECTOR.
THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED
` WILL BE USED FOR THAT PURPOSE. 7a

